                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
v.                                                   )      NO. 3:14-00059
                                                     )      JUDGE CAMPBELL
JESUS ARAGON                                         )

                                             ORDER

        Pending before the Court is the Government’s Motion to Substitute Counsel (Docket No. 44).

The Motion is GRANTED.

        It is so ORDERED.

                                                     ____________________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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